      Case 1:19-cv-00686-PKC-RWL Document 239 Filed 10/16/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                              10/16/2020
---------------------------------------------------------------X
RED FORT CAPITAL, INC.,                                        :
                                                               :     19-CV-686 (PKC) (RWL)
                                             Plaintiff,        :
                                                               :
                  - against -                                  :     ORDER
                                                               :
GUARDHOUSE PRODUCTIONS LLC, et al., :
                                                               :
                                             Defendants. :
---------------------------------------------------------------X

ROBERT W. LEHRBURGER, United States Magistrate Judge.

        By October 26, 2020, Plaintiffs shall file a status report and proposed scheduling

with respect to moving forward against any remaining defendants and otherwise bringing

this case to closure.

                                                     SO ORDERED.



                                                     _________________________________
                                                     ROBERT W. LEHRBURGER
                                                     UNITED STATES MAGISTRATE JUDGE

Dated: October 16, 2020
       New York, New York




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